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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                                                                                      October 13, 2021
                             UNITED STATES DISTRICT COURT
                                                                                     Nathan Ochsner, Clerk
                              SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION

UNITED STATES OF AMERICA,                          §
                                                   §
           Plaintiff,                              §
VS.                                                §
                                                   §        CIVIL ACTION NO. 7:20-cv-00416
11.1 ACRES OF LAND, more or less, in               §
STARR COUNTY, TEXAS; et al.,                       §
                                                   §
           Defendants.                             §

                                              ORDER

           The Court now considers the “Stipulation for Revestment and Motion for Entry of Final

Judgment” entered by Plaintiff the United States of America (United States) and Defendant City of

Rio Grande City, Texas (Rio Grande City). 1 Because the stipulation and motion for entry of final

judgment are signed by all parties in this case, the Court GRANTS the parties’ motion and enters

a separate final judgment pursuant to the parties’ stipulation.

           IT IS SO ORDERED.

           DONE at McAllen, Texas, this 13th day of October 2021.


                                                   ___________________________________
                                                                 Micaela Alvarez
                                                           United States District Judge




1   Dkt. No. 19.


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